Case 1:22-cv-00859-RP Document 64 Filed 09/26/22 Page 1 of 8
Case 1:22-cv-00859-RP Document 64 Filed 09/26/22 Page 2 of 8
Case 1:22-cv-00859-RP Document 64 Filed 09/26/22 Page 3 of 8
Case 1:22-cv-00859-RP Document 64 Filed 09/26/22 Page 4 of 8
Case 1:22-cv-00859-RP Document 64 Filed 09/26/22 Page 5 of 8
        Case 1:22-cv-00859-RP Document 64 Filed 09/26/22 Page 6 of 8



                      UNITED STATES DISTRICT COURT

                                          for the


                            WESTERN DISTRICT OF TEXAS

    FUND TEXAS CHOICE,et al.,                       §
                                                    §
                                                    §
                       Plaintiffs,                  §
    V                                               §        Civil Action No. 1-22-CV-859-RP
                                                    §

    KEN PAXTON,et al.,                              ^
                      Defendants.                   §


 AFFIDAVIT OF ERNESTO MARTIN HERRERA REGARDING SERVICE OF

                 SUBPOENAS TO KENNETH **KEN" PAXTON.JR.




        On this day, before me the undersigned authority, personally appeared Ernesto

Martin Herrera,known to me to be the person whose name is subscribed hereto and imder

oath states:

        "My name is Ernesto Martin Herrera. I am over the age of eighteen(18) years,
of sound mind, and am not party to or interested in the above styled and numbered cause.

I have personal knowledge of the facts and statements contained in this affidavit and aver
that each is true and correct.

        Monday, September 26, 2022, 8:06 AM - Two Subpoenas to Appear and Testify
At A Hearing Or Trial In A Civil Action came to my hand. One addressed to Texas
Attorney General Warren Kenneth "Ken"Paxton,JR.,In His Official Capacity and another
addressed to Warren Kenneth "Ken Paxton, JR., Individually.
      Case 1:22-cv-00859-RP Document 64 Filed 09/26/22 Page 7 of 8



       I served said documents upon Warren Kenneth "Ken Paxton, JR via personal

delivery at                                                                     on Monday

September 26, 200 at 9;50 am.

        Monday September 26, 2022. - I arrived at

              at 8:28 am and parked on the street in front ofthe residence. 1 could see a

silhouette ofa man walking in the living room area. 1 knocked on the front door. The

door had clear glass in it and 1 could clearly see inside the house. A female got up from

the couch and started walking to the door. 1 saw Mr. Paxton enter the room behind her.

When he saw me, he turned around and went back to where he came from. 1 recognized

him as Ken Paxton from the many pictures available on the internet. The female opened

the door and 1 explained to her that 1 was trying to deliver important legal documents to

Mr. Paxton. She went back towards the area where Mr. Paxton had gone and she came

back telling me that he was on the phone. 1 offered to wait for him to be off the phone.
She said that he was in a hurry to leave. 1 left my business card with her. She identified

herself as Angela. 1 observed a Black Chevrolet truck parked in the driveway, Texas plate
#       .




       1 went back to my car and waited per my client's instructions. At approximately
9:20 am,1 observed a black Tahoe, Texas plate                arrive at the home. The
vehicle backed into the driveway and the driver stayed inside.

At approximately 9:40 am the garage door opened up and 1 saw Mr. Paxton exiting the
garage. He was wearing a white shirt and dark pants and carrying a suitjacket in his
hands. 1 walked up the driveway approaching Mr. Paxton and called him by his name. As
       Case 1:22-cv-00859-RP Document 64 Filed 09/26/22 Page 8 of 8




soon as he saw me and heard me call his name out, he turned around and RAN back

inside the house through the same door in the garage.



       At approximately 9:47 am, Angela came out and opened the driver side and rear
side door behind the driver of the truck. She then got inside the truck and started it,

leaving the rear door behind the driver side open. A few minutes later I saw Mr. Paxton
ran from the door inside the garage towards the rear door behind the driver side. I

approached the truck, and loudly called him by his name and stated that I had court
documents for him. Mr. Paxton ignored me and kept heading for the truck. After

determining that Mr. Paxton was not going to take the Subpoenas from my hand, I stated
that I was serving him with legal documents and was leaving them on the ground where
he could get them. I then placed the documents on the ground beside the truck. Service

was completed at 9:50 am. He got in the truck leaving the documents on the ground, and
then both vehicles left.




   Ernesto Martin Herrera - PSC 4418 - Exp 11/30/23
    served@specialdelivery.com



Subscribed and Sworn to by Ernesto Martin Herrera, Before Me,the undersigned
authority, on this ^^^day of September, 2022.

                     GREG BENEFIELD
                           Notary Public
                      STATE OF TEXAS                    Notary P(iblic in a       State of Texas
                           ID#1102758-7
                     Comm. Exp. Dec. 27.2025
